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      VIA CM/ECF

                                                April 25, 2022

      The Honorable Beth P. Gesner
      United States District Court
      for the District of Maryland
      101 West Lombard Street
      Baltimore, Maryland 21201

                Re: United States v. Mark Unkenholz
                    Criminal Case No. JKB-22-0105

      Dear Judge Gesner:

             I write to request a modification of Mr. Unkenholz’s pretrial release conditions by permitting
      him to travel to Oregon for day trips while he is visiting his family in Washington State. Assistant
      U.S. Attorney P. Michael Cunningham does not object to the proposed modification. U.S. Pretrial
      Officer Celine Ferguson also does not object to the proposed modification.

             As the Court knows, Mr. Unkenholz first appeared before the Court on March 31, 2022, and
      was released on conditions, including a condition restricting his travel to Maryland and Washington
      State, where members of his family reside. See ECF No. 12. While visiting his loved ones in
      Washington State, Mr. Unkenholz would like to make day trips to nearby Oregon, which is located
      driving distance from his family’s home.

             Accordingly, Mr. Unkenholz respectfully requests that the Court grant the unopposed request to
      modify his release conditions by permitting him to travel to Oregon for day trips. All other conditions
      would remain in effect. I thank the Court for its attention to this matter.

                                             Sincerely,

                                                    /s/

                                             Shari Silver Derrow
                                             Assistant Federal Public Defender
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APPROVED this ____ day of April, 2022,


_________________________________
Honorable Beth P. Gesner
United States Magistrate Judge
